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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No.: 1:17-cv-24500-JLK

   JACOB ZOWIE THOMAS RENSEL,
   individually and on behalf of all others
   similarly situated,

                          Plaintiff,

   v.

   CENTRA TECH, INC., SOHRAB SHARMA,
   RAYMOND TRAPANI, ROBERT FARKAS,
   and WILLIAM HAGNER,

                          Defendants.

                     SUPPLEMENTAL DECLARATION OF STEVE SYKES

          I, Steve Sykes, declare as follows:

          1.      I am employed by defendant Centra Tech, Inc. (“Centra Tech”) as Chief

   Technology Officer. I am responsible for all customer experiences related to Centra Tech’s

   website. I am authorized to make this Supplemental Declaration on behalf of defendants Centra

   Tech, Inc., Sohrab Sharma, Raymond Trapani, Robert Farkas, and William Hagner (together,

   “Defendants”), and do so in support of the Motion to Compel Arbitration and Stay Proceedings,

   and in the Alternative to Dismiss.

          2.      This declaration is based on my own personal knowledge of the matters stated

   herein, my review of relevant records, and my discussions with other Centra Tech employees.

          3.      As part of my job responsibilities, I am personally familiar with the customer

   relationship management (CRM) system used by Centra Tech. Since prior to the beginning of

   Centra Tech’s initial coin offering (ICO) on or about July 30, 2017, and through the present,

   Centra Tech has contracted with a reputable third-party vendor, Zoho, to create and maintain
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   Centra Tech’s customer records through its “Zoho CRM” software. The documents attached as

   exhibits to this Declaration are true and accurate copies of documents maintained by Centra

   Tech’s Zoho CRM system in the ordinary course of business.

           4.      In my Declaration dated February 2, 2018, I described the process by which

   consumers could sign up for the Centra Tech ICO through Centra Tech’s website. When any

   consumer clicked the “Submit” button at the conclusion of that process, Zoho CRM immediately

   and automatically created a customer record for that person. Thereafter, the Zoho CRM system

   maintains a record of emails sent to the customer using the Zoho CRM system.

           5.      A Zoho CRM record would not have been created for a person who sent virtual

   currency to the Centra Tech smart contract without going through the sign-up process described

   in my Declaration dated February 2, 2018.

           6.      I have identified and reviewed the record in Zoho CRM pertaining to Mr. Rensel.

   A true and correct copy of the Zoho CRM database record for Mr. Rensel is attached as Exhibit 1

   to this declaration.

           7.      The Zoho CRM database record for Mr. Rensel includes, among other things, a

   notation that it was created on Sunday, July 30, 2017, at 3:13 p.m.

           8.      The Zoho record also shows that Zoho CRM, on behalf of Centra Tech, was used

   to send an email with subject line “Centra ICO Smart Contract Live” to Mr. Rensel at

   jacob.rensel@gmail.com on July 30, 2017. That email could not have been sent to Mr. Rensel if

   he had not voluntarily provided his email address during the sign-up process described in my

   Declaration dated February 2, 2018.
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                              Exhibit 1
Zoho CRMCase
          Lead 1:17-cv-24500-RNS
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     Lead Information

                       Lead Owner :         Centra Admin          Lead Name :        Jacob Rensel

                               Phone :      (910) 574-                  Email :             .rensel@gmail.com

                              Mobile :                                    Fax :

                  Preferred contact                                    Rating :
                          method :
                                                                  Created By :       Centra Admin
       Access Code Veriﬁcation :                                                     Sun, 30 Jul 2017 03:13 PM

                   ICO Contributor :        yes                     Skype ID :

                       KYC Veriﬁed :        no                   Date of Birth :

                                                                          Tag :

                                                                     Veriﬁed? :      Yes



     Address Information

                                 Street :         Shell Dr Apt                     City :   Spring

                                  State :                                 Zip Code :

                               Country :     United States           Address line 2 :



     If Address get Changed

              Place of living changed
             since last contribution? :

                      Changed Street :

                        Changed City :

                       Changed State :

                 Changed Zip Code :

                   Changed Country :




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Zoho CRMCase
          Lead 1:17-cv-24500-RNS
               Deta s            Document 34-1 Entered on FLSD Docket 02/23/2018 Page 6 2/21/18
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     Description Information

                           ETH Wallet :

                           BTC Wallet :

                           LTC Wallet :

                    Additional Notes :       Date of Birth:

                          Description :



     Contribution Amount Details

             Wallet Address Pre Sale
                     (Aug 4 - Sep 4) :

           ETH Pre Sale (Aug 4 - Sep
                                  4) :

           BTC Pre Sale (Aug 4 - Sep
                                  4) :

           LTC Pre Sale (Aug 4 - Sep
                                  4) :

                   Are you a pre-sale
                        contributor? :

            Did you contribute in the
               ﬁrst 3 days of the pr :

           ETH 3 Days Contribution :

           BTC 3 Days Contribution :

           LTC 3 Days Contribution :



     Tokens received directly (Aug 4 - Sep 4)

             Wallet Address Pre-sale
                     (Aug 4 - Sep 4) :

            Amount of CTR received
                   (Aug 4 - Sep 4) :



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Zoho CRMCase
          Lead 1:17-cv-24500-RNS
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       Wallet Address (Sep 5 - Sep
                               16) :

           Amount of CTR received
                 (Sep 5 - Sep 16) :

            Wallet Address (Sep 19 -
                             Oct 5) :

           Amount of CTR received
                  (Sep 19 - Oct 5) :



     Change of Ethereum address

              Original wallet address
                            (Wallet 1) :

            CTR tokens remaining in
           original address(Wallet 1) :

         New wallet address (Wallet
                                1) :

            Amount of CTR tokens in
             new address (Wallet 1) :

              Original wallet address
                           (Wallet 2) :

             CTR tokens remaining in
           original address(Wallet 2) :

         New wallet address (Wallet
                               2) :

            Amount of CTR tokens in
             new address (Wallet 2) :

              Original wallet address
                           (Wallet 3) :

             CTR tokens remaining in
           original address(Wallet 3) :

         New wallet address (Wallet
                               3) :

            Amount of CTR tokens in
             new address (Wallet 3) :

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Zoho CRMCase
          Lead 1:17-cv-24500-RNS
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     Card order

        Titanium Card (500+ ETH) :

             Black Card (100+ ETH) :

       Gold Metal Card (40+ ETH) :

               Gold Card (30+ ETH) :

                 Blue Card (5+ ETH) :



     Visit Summary

                   Most Recent Visit :                                        First Visit :

                              Referrer :                              First Page Visited :

                   Number Of Chats :                                 Average Time Spent
                                                                              (Minutes) :
                         Days Visited :
                                                                           Visitor Score :



     Notes



     Attachments

                                                  No records found




     Products

                                                  No records found




     Open Activities

                                                  No records found




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Zoho CRMCase
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     Closed Activities

                                                         No records found




     Mails

       SUBJECT                                    DATE                      SENT BY   EMAIL    SOURCE     STATUS
                                                                                      OWNER


             Veriﬁcation                          Oct 19, 2017 10:08 A Centra         Centra   Multiple   Opened
                                                  M                    Admin          Admin

             Veriﬁcation                          Oct 18, 2017 10:30 A Centra         Centra   Individual Opened
                                                  M                    Admin          Admin

             Centra 25% Bonus ICO Tokens - 24     Aug 4, 2017 02:18 A       Centra    Centra   Multiple   Opened
             hours left                           M                         Admin     Admin


             Centra ICO Smart Contract Live       Jul 30, 2017 03:36 P Centra         Centra   Multiple   Opened
                                                  M                    Admin          Admin



     Invited Events

                                                         No records found




     Campaigns

                                                         No records found




     Zoho Survey

                                                         No records found




     Visits - Zoho SalesIQ


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                                                       No records found




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                               Exhibit 2
       Case
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                                                                                        of 319 44 AM



     Lead Information

                        Lead Owner :        Centra Admin          Lead Name :       Leizle Ho

                               Phone :      +1408480                    Email :                  @gmail.com

                               Mobile :                                   Fax :

       Preferred contact method :           Email                      Rating :

        Access Code Veriﬁcation :                                 Created By :      Centra Admin
                                                                                    Sun, 30 Jul 2017 03:13 PM
                   ICO Contributor :        yes
                                                                    Skype ID :
                       KYC Veriﬁed :        no
                                                                 Date of Birth :

                                                                          Tag :

                                                                     Veriﬁed? :     Yes



     Address Information

                                 Street :           Yarwood Ct                     City :

                                  State :                                  Zip Code :

                               Country :     United States            Address line 2 :



     If Address get Changed

              Place of living changed
             since last contribution? :

                      Changed Street :

                        Changed City :

                       Changed State :

                 Changed Zip Code :

                   Changed Country :




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       Case
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     Description Information

                           ETH Wallet :

                           BTC Wallet :

                           LTC Wallet :

                    Additional Notes :

                          Description :



     Contribution Amount Details

             Wallet Address Pre Sale
                     (Aug 4 - Sep 4) :

           ETH Pre Sale (Aug 4 - Sep
                                  4) :

           BTC Pre Sale (Aug 4 - Sep
                                  4) :

           LTC Pre Sale (Aug 4 - Sep
                                  4) :

                   Are you a pre-sale
                        contributor? :

            Did you contribute in the
               ﬁrst 3 days of the pr :

           ETH 3 Days Contribution :

           BTC 3 Days Contribution :

           LTC 3 Days Contribution :



     Tokens received directly (Aug 4 - Sep 4)

             Wallet Address Pre-sale
                     (Aug 4 - Sep 4) :

            Amount of CTR received
                   (Aug 4 - Sep 4) :



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       Case
Zoho CRM Lead1:17-cv-24500-RNS
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       Wallet Address (Sep 5 - Sep
                               16) :

           Amount of CTR received
                 (Sep 5 - Sep 16) :

            Wallet Address (Sep 19 -
                             Oct 5) :

           Amount of CTR received
                  (Sep 19 - Oct 5) :



     Change of Ethereum address

              Original wallet address
                            (Wallet 1) :

            CTR tokens remaining in
           original address(Wallet 1) :

         New wallet address (Wallet
                                1) :

            Amount of CTR tokens in
             new address (Wallet 1) :

              Original wallet address
                           (Wallet 2) :

             CTR tokens remaining in
           original address(Wallet 2) :

         New wallet address (Wallet
                               2) :

            Amount of CTR tokens in
             new address (Wallet 2) :

              Original wallet address
                           (Wallet 3) :

             CTR tokens remaining in
           original address(Wallet 3) :

         New wallet address (Wallet
                               3) :

            Amount of CTR tokens in
             new address (Wallet 3) :

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       Case
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     Closed Activities

                                                         No records found




     Mails

       SUBJECT                                    DATE                      SENT BY   EMAIL    SOURCE     STATUS
                                                                                      OWNER


             Veriﬁcation                          Oct 19, 2017 10:08 A Centra         Centra   Multiple   Opened
                                                  M                    Admin          Admin

             Veriﬁcation                          Oct 19, 2017 10:01 A      Centra    Centra   Individual Opened
                                                  M                         Admin     Admin

             Veriﬁcation                          Oct 19, 2017 09:58        Centra    Centra   Individual Opened
                                                  AM                        Admin     Admin

             Centra 25% Bonus ICO Tokens - 24     Aug 4, 2017 02:18 A       Centra    Centra   Multiple   Opened
             hours left                           M                         Admin     Admin

             Centra ICO Smart Contract Live       Jul 30, 2017 03:36 P Centra         Centra   Multiple   Opened
                                                  M                    Admin          Admin



     Invited Events

                                                         No records found




     Campaigns

                                                         No records found




     Zoho Survey

                                                         No records found




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       Case
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     Visits - Zoho SalesIQ

                                                       No records found




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                               Exhibit 3
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     Lead Information

                       Lead Owner :         Centra Admin        Lead Name :      Aaron Casillas

                              Phone :       805-234-                  Email :          @protonmail.com

                              Mobile :                                  Fax :

                  Preferred contact                                  Rating :
                          method :
                                                                Created By :     Centra Admin
       Access Code Veriﬁcation :                                                 Mon, 21 Aug 2017 11:11 AM

                   ICO Contributor :        yes                   Skype ID :

                       KYC Veriﬁed :        yes                Date of Birth :

                                                                        Tag :

                                                                   Veriﬁed? :    Yes



     Address Information

                                 Street :         Foote Road                 City :

                                  State :                              Zip Code :

                               Country :     United States       Address line 2 :



     If Address get Changed

              Place of living changed
             since last contribution? :

                      Changed Street :

                        Changed City :

                       Changed State :

                 Changed Zip Code :

                   Changed Country :




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       Case
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     Description Information

                           ETH Wallet :

                           BTC Wallet :

                           LTC Wallet :

                    Additional Notes :       Date of Birth:

                          Description :



     Contribution Amount Details

             Wallet Address Pre Sale
                     (Aug 4 - Sep 4) :

           ETH Pre Sale (Aug 4 - Sep
                                  4) :

           BTC Pre Sale (Aug 4 - Sep
                                  4) :

           LTC Pre Sale (Aug 4 - Sep
                                  4) :

                   Are you a pre-sale
                        contributor? :

            Did you contribute in the
               ﬁrst 3 days of the pr :

           ETH 3 Days Contribution :

           BTC 3 Days Contribution :

           LTC 3 Days Contribution :



     Tokens received directly (Aug 4 - Sep 4)

             Wallet Address Pre-sale
                     (Aug 4 - Sep 4) :

            Amount of CTR received
                   (Aug 4 - Sep 4) :



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       Case
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       Wallet Address (Sep 5 - Sep
                               16) :

           Amount of CTR received
                 (Sep 5 - Sep 16) :

            Wallet Address (Sep 19 -
                             Oct 5) :

           Amount of CTR received
                  (Sep 19 - Oct 5) :



     Change of Ethereum address

              Original wallet address
                            (Wallet 1) :

            CTR tokens remaining in
           original address(Wallet 1) :

         New wallet address (Wallet
                                1) :

            Amount of CTR tokens in
             new address (Wallet 1) :

              Original wallet address
                           (Wallet 2) :

             CTR tokens remaining in
           original address(Wallet 2) :

         New wallet address (Wallet
                               2) :

            Amount of CTR tokens in
             new address (Wallet 2) :

              Original wallet address
                           (Wallet 3) :

             CTR tokens remaining in
           original address(Wallet 3) :

         New wallet address (Wallet
                               3) :

            Amount of CTR tokens in
             new address (Wallet 3) :

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     Card order

        Titanium Card (500+ ETH) :

             Black Card (100+ ETH) :

       Gold Metal Card (40+ ETH) :

               Gold Card (30+ ETH) :

                 Blue Card (5+ ETH) :



     Visit Summary

                   Most Recent Visit :                                        First Visit :

                              Referrer :                              First Page Visited :

                   Number Of Chats :                                 Average Time Spent
                                                                              (Minutes) :
                         Days Visited :
                                                                           Visitor Score :



     Notes



     Attachments

                                                  No records found




     Products

                                                  No records found




     Open Activities

                                                  No records found




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       Case
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     Closed Activities

                                                         No records found




     Mails

       SUBJECT                                    DATE                      SENT BY   EMAIL    SOURCE   STATUS
                                                                                      OWNER


             Veriﬁcation                          Oct 19, 2017 10:08 A Centra         Centra   Multiple Delivered
                                                  M                    Admin          Admin

             Veriﬁcation                          Oct 17, 2017 04:18 P      Centra    Centra   Multiple Opened
                                                  M                         Admin     Admin

             Disregard any Bonus email            Oct 1, 2017 11:31 AM      Centra    Centra   Multiple Delivered
                                                                            Admin     Admin

             Centra Pre-ICO Closing in 6 hours    Aug 25, 2017 04:03        Centra    Centra   Multiple Delivered
             20% bonus                            AM                        Admin     Admin



     Invited Events

                                                         No records found




     Campaigns

                                                         No records found




     Zoho Survey

                                                         No records found




     Visits - Zoho SalesIQ

                                                         No records found

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       Case
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                               Exhibit 4
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     Lead Information

                       Lead Owner :         Centra Admin         Lead Name :        Garnett Gilchrest

                              Phone :       (254) 715-                 Email :             @crypti.ﬁ

                             Mobile :                                    Fax :

                  Preferred contact                                   Rating :
                          method :
                                                                 Created By :       Centra Admin
                       Access Code                                                  Thu, 21 Sep 2017 12:06 AM
                        Veriﬁcation :
                                                                   Skype ID :
                  ICO Contributor :         yes
                                                                Date of Birth :
                      KYC Veriﬁed :         yes
                                                                         Tag :

                                                                    Veriﬁed? :      Yes



     Address Information

                                 Street :            Snug Hbr              City :

                                  State :                            Zip Code :

                               Country :      USA               Address line 2 :



     If Address get Changed

              Place of living changed
             since last contribution? :

                      Changed Street :

                        Changed City :

                       Changed State :

                 Changed Zip Code :

                   Changed Country :




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       Case
Zoho CRM Lead1:17-cv-24500-RNS
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     Description Information

                           ETH Wallet :

                           BTC Wallet :

                           LTC Wallet :

                    Additional Notes :       Conﬁrmation sent

                          Description :



     Contribution Amount Details

             Wallet Address Pre Sale
                     (Aug 4 - Sep 4) :

           ETH Pre Sale (Aug 4 - Sep
                                  4) :

           BTC Pre Sale (Aug 4 - Sep
                                  4) :

           LTC Pre Sale (Aug 4 - Sep
                                  4) :

                   Are you a pre-sale
                        contributor? :

            Did you contribute in the
               ﬁrst 3 days of the pr :

           ETH 3 Days Contribution :

           BTC 3 Days Contribution :

           LTC 3 Days Contribution :



     Tokens received directly (Aug 4 - Sep 4)

             Wallet Address Pre-sale
                     (Aug 4 - Sep 4) :

            Amount of CTR received
                   (Aug 4 - Sep 4) :



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       Case
Zoho CRM Lead1:17-cv-24500-RNS
              Deta s           Document 34-1 Entered on FLSD Docket 02/23/2018 Page 282/23/18
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       Wallet Address (Sep 5 - Sep
                               16) :

           Amount of CTR received
                 (Sep 5 - Sep 16) :

            Wallet Address (Sep 19 -
                             Oct 5) :

           Amount of CTR received
                  (Sep 19 - Oct 5) :



     Change of Ethereum address

              Original wallet address
                            (Wallet 1) :

            CTR tokens remaining in
           original address(Wallet 1) :

         New wallet address (Wallet
                                1) :

            Amount of CTR tokens in
             new address (Wallet 1) :

              Original wallet address
                           (Wallet 2) :

             CTR tokens remaining in
           original address(Wallet 2) :

         New wallet address (Wallet
                               2) :

            Amount of CTR tokens in
             new address (Wallet 2) :

              Original wallet address
                           (Wallet 3) :

             CTR tokens remaining in
           original address(Wallet 3) :

         New wallet address (Wallet
                               3) :

            Amount of CTR tokens in
             new address (Wallet 3) :

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     Closed Activities

                                                                 No records found




     Mails

       SUBJECT                                    DATE                   SENT BY    EMAIL OWNER   SOURCE       STATUS


             Missing Date of Birth                Oct 23, 2017 05:53     Centra     Centra        Multiple     Delivered
                                                  PM                     Admin      Admin

             Veriﬁcation                          Oct 19, 2017 10:08 A Centra       Centra        Multiple     Delivered
                                                  M                    Admin        Admin

             Veriﬁcation                          Oct 17, 2017 04:18 P   Centra     Centra        Multiple     Delivered
                                                  M                      Admin      Admin

             Veriﬁcation                          Oct 17, 2017 09:39     Centra     Centra        Individual   Delivered
                                                  AM                     Admin      Admin

             Disregard any Bonus                  Oct 1, 2017 11:24 AM   Centra     Centra        Multiple     Delivered
             email                                                       Admin      Admin

             Disregard any Bonus                  Oct 1, 2017 11:23 AM   Centra     Centra        Multiple     Delivered
             email                                                       Admin      Admin

             Order Conﬁrmation                    Sep 21, 2017 12:06     Centra     Centra        Workﬂow      Delivered
                                                  AM                     Admin      Admin         Alert



     Invited Events

                                                                 No records found




     Campaigns

                                                                 No records found




     Zoho Survey

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                                                       No records found




     Visits - Zoho SalesIQ

                                                       No records found




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